953 F.2d 688
    293 U.S.App.D.C. 292
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Paul Julius FLETCHER, Appellant,v.Bernard L. BRAXTON and Marion S. Barry, Jr., Mayor, Appellees.
    No. 90-5162.
    United States Court of Appeals, District of Columbia Circuit.
    Feb. 5, 1992.
    
      Before MIKVA, Chief Judge, and KAREN LECRAFT HENDERSON and RANDOLPH, Circuit Judges.
    
    JUDGMENT
    PER CURIAM
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for a published opinion.   See D.C.Cir. Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order filed June 6, 1990, dismissing Fletcher's complaint be affirmed.   Fletcher's transfer while his petition for habeas corpus was pending before this court did not cause him any prejudice.   See Goodman v. Keohane, 663 F.2d 1044, 1047 (11th Cir.1982).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    